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                      THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division


JOETTE PETE,                                )
                                            )
                      Movant,               )
                                            )
       v.                                   )      Civil Action No. 3:19-mc-26 (REP)
                                            )
BIG PICTURE LOANS, et al.,                  )
                                            )
                      Respondents.          )

LULA WILLIAMS, et al.,                      )
                                            )
                      Plaintiffs,           )
                                            )
       v.                                   )      Civil Action No. 3:17-cv-461 (REP)
                                            )
BIG PICTURE LOANS, LLC, et al.,             )
                                            )
                      Defendants.           )

RENEE GALLOWAY, et al.,                     )
                                            )
                      Plaintiffs,           )
                                            )
       v.                                   )      Civil Action No. 3:18-cv-406 (REP)
                                            )
BIG PICTURE LOANS, LLC, et al.,             )
                                            )
                      Defendants.           )



       MATT MARTORELLO’S MOTION UNDER RULE 30(d) FOR FURTHER
       DEPOSITION BASED ON CONDUCT THAT IMPEDED QUESTIONING
                     AND FOR EXPEDITED RULING1


1 Matt Martorello files this motion and memorandum in case numbers 3:19-mc-26, 3:17-cv-461,
and 3:18-cv-406, because the deposition at issue was subject to a motion to quash in case number
3:19-mc-26, but the deposition was for discovery purposes in case numbers 3:17-cv-461 and
3:18-cv-406.
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       Matt Martorello (“Martorello”), by counsel and pursuant to Rule 30(d) of the Federal

Rules of Civil Procedure, moves the Court to enter an order requiring Joette Pete to submit to a

further deposition for the limited purpose of answering questions she refused to answer due to

actions of Plaintiffs’ counsel to impede the deposition. Martorello further requests that the Court

order expedited briefing on this Motion as Pete’s deposition relates to the evidentiary hearing

scheduled for July 21 and 22, 2020, in Williams et al. v. Big Picture Loans, LLC, et al.¸E.D. Va.

Civil Action No. 3:17-cv-00461-REP and Galloway et al. v. Big Picture Loans, LLC, E.D. Va.

Civil Action No. 3:18-cv-406-REP, and require Plaintiffs’ counsel to pay the costs incurred by

the filing of this Motion and the additional deposition to occur due to Plaintiffs’ counsel

improper interference with the completion of the first deposition. The basis for this motion and

the precise relief requested is more fully explained in the supporting memorandum filed

contemporaneously herewith.

                                             Respectfully submitted,

                                             MATT MARTORELLO

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                              CERTIFICATE OF SERVICE

       The undersigned counsel certifies that on this 3rd day of June, 2020, the foregoing was

filed using the Court’s CM/ECF system, thereby serving a copy on all counsel of record

electronically.




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